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 AO 93 GEv. l2m9) ScrGt.Dd SciarE Wrnsd




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            (Brtefu de,s*ib c thc popety to be swahd
                                                         Distsict ofNew Mexico


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                                                                                    A.5- 6i0 7 W\,&
            or idettify hc Tnwon by aamc and ad&an)
                                                                  )       cascNo.
         a black cellphona (Subject Tetephone)
                                                                  )
                                                                  )
                                                                  )

                                         SEARCII AND SEIZT'RE WARRANT
 To: Any authorizcd law cnforccment offccr
             An application by a ftdorsJ law enforccncnt offics or an atlomey for
          -                                                                       hc goventltsntrcqu3s6 tho seaph
 of tha followi4g poffion or property located h        the                     Distict   of         ihry M.e)dm
 (idailtfi rte puoa or dcsqibc rtc prcp*ty a be tuettd ad gtve tu lu,otton):
a black celphone, more fully descrlbed kr Athchment A, whidt is sttached
                                                                                 incorponated herein.

          The persou or propcrty to be searchcd' described abovq is beliwcd
                                                                            to sonceal fidatily rlu pcrtor or dqcrtbethe
poperflt to bc scized):

 See AtEctment B, a[achd and lncorporated hereln.

        I find &at the affidavi(s), or auy rccorded Estimony, establishprobable causo to
                                                                                               scarch and seize rhe person or
propcrty-

        You ARE COMMANITED to cxecute ttis warrant ou or before
                                                                                    3 Uq           Vr{
      o in thc rlaytime 6:00 a,m, to l0 p,m" d at any timo in tho day or niglt * , #IffTI'J.ff;                       ,"*
                                                          estabHshcd

        U,aless delayed notice is auhorized below, you mwt give a copy of tho warrant and a
  -
takeu to &e Pcrsm from whom, or ftom vvhose premises, the           -rv'as                     rcceipt for fre property
                                                           lropcrty        takou, or lcave the copy aud recrtit     tnJ
place where the prcperty was trken.                                                                              "i
        The ofrcer exfflting this wurant, or an officcr presc,at during thc execution of the wa,rant, must prcpar€
                                                                                                                   311
iaveutory as required by law aud pro,mptly rctrrn lhis wirmot anl invintory to Unitcd Staee Magistrae r;dgs

                          (naw)
     fl I find that imnrediatc notification may havc an advrse rcsult lirted in I t U.S,C. 0 270i (except for delay
oftial), and authorizc he officer executing ftis warrsnt to dclry noticc to thc ponon whi, orwhose plopc*y, .roin U
seorthed or seized phah thc ryropdate box) ofor               dzys lnot u qcrcd 30t,
                                             truntil tho facts justi$ing; tho latcr spcciffc date ot
                           / Sscto
Datcandtimeissued:       /b /?ZU ?zf
City aud stato: Las Gruces, New Mexlco
                                                                      \av7zai,-
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             Case 2:25-mr-00907-DLM                 Document 3           Filed 05/19/25         Page 2 of 2



AO9, (Rsv, I2l09) ScnrhradscizrrG Wrmt(p.gc2)



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        Qflnzl,r" .




       I declare ruder pelralty of perjury ttat this involrtory is correct and was rctrned along with the original wa*ant




Date: q
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